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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHEASTERN DIVISION

United States of America,           )
                                    )
             Plaintiff,             )           ORDER
                                    )
       vs.                          )
                                    )
Robert Ron Zacher,                  )
                                    )           Case No. 3:09-cr-069-5
             Defendant.             )
______________________________________________________________________________

       On January 26, 2010, the government filed an Ex Parte Motion for Revocation of Defendant

Robert Zacher’s Conditional Release. It claimed that Zacher had violated the conditions of his pre-

sentence release, to wit: he had verbally threatened a former co-worker and person providing

information to the government relevant to the conspiracy in the indictment. It requested that the

court repeal Zacher’s pre-sentence release pending a revocation hearing and issue warrant for his

arrest. Chief Judge Ralph Erickson granted the government’s request.

       Zacher was taken into federal custody on January 27, 2010. The matter was referred to the

undersigned, who convened a revocation hearing on January 28, 2010, at 3:00 p.m. in Bismarck,

North Dakota. AUSA Rick Volk appeared on the government’s behalf. Attorney Kelly Armstrong

appeared on Zacher’s behalf. Three individuals were called to testify: North Dakota Parole Officer

Mark Kemmet, Task Force Officer Cory Schlinger, and Roger Thompson, Zacher’s former work

supervisor.

       For the reasons set forth on the record, the undersigned finds credible the evidence of

Zacher’s threat. Consequently, in accordance with 18 U.S.C. § 3143(a)(2)(B), the court is unable

to find by clear and convincing evidence that Zacher is not likely a danger to any other person or

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the community.

       Accordingly, Zacher’s conditions of pre-sentence release are REVOKED. The court further

ORDERS that Zacher be committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility. Zacher shall be afforded a reasonable

opportunity for private consultations with defense counsel. On order of a court of the United States

or on request of an attorney for the government, the person in charge of the corrections facility shall

deliver Zacher to the United States Marshal for the purpose of an appearance in connection with a

court proceeding.

       Dated this 29th day of January, 2010.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr.
                                               United States Magistrate Judge




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